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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 ADELA MOLINA et al., on behalf of themselves :
 and all others similarly situated.,                          :
                                              Plaintiffs, :        20 Civ. 2481 (LGS)
                                                              :
                            -against-                         :         ORDER
                                                              :
 HUAXCUAXTLA RESTAURANT CORP et al., :
                                                              :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Case Management Plan, dated July 21, 2020 (Dkt. No. 38), directed the

parties to submit a joint status letter per Individual Rule IV.A.2 by October 16, 2020.

        WHEREAS, the parties have not filed a joint status letter. It is hereby

        ORDERED that by October 20, 2020, the parties shall submit a joint status letter as

outlined in Individual Rule IV.A.2. Failure to comply with court-ordered deadlines may result in

sanctions or prejudice.

Dated: October 19, 2020
       New York, New York
